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                                                                                    FILED B
                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF FLORIDA
                                                                                           SEP O9 2022
                                                                                           ANGELA E. NOBLE
                                                                                          CLERK U.S . DIST. CT.
  IN THE MATTER OF THE SEARCH OF:                       )                                 S.D. OF FLA. - W.P.8.
                                                        )      Case No.
  LOCATIONS WITHIN THE PREMISES                         )
  TO BE SEARCHED IN ATTACHMENT A                        )      Filed U oder Seal


                               AFFIDAVIT IN SUPPORT OF AN
                             APPLICATION UNDER RULE 41 FOR A
                              WARRANT TO SEARCH AND SEIZE

              I,                 , being first duly sworn, hereby depose and state as follows:

                         INTRODUCTION AND AGENT BACKGROUND

         1.        The government is conducting a criminal investigation concerning the improper

 removal and storage of classified information in unauthorized spaces, as well as the unlawful

 concealment or removal of government records. The investigation began as a result of a refen-al

 the United States National Archives and Records Administration (NARA) sent to the United

 States Department of Justice (DOJ) on February 9, 2022, hereinafter, "NARA Referral." The

 NARA Referral stated that on January 18, 2022, in accordance with the Presidential Records Act

 (PRA), NARA received from the office of former President DONALD J. TRUMP, hereinafter

 "FPOTUS," via representatives, fifteen ( 15) boxes of records, hereinafter, the "FIFTEEN

 BOXES." The FIFTEEN BOXES, which had been transported from the FPOTUS property at

 1100 S Ocean Blvd, Palm Beach, FL 33480, hereinafter, the "PREMISES," a residence and club

 known as "Mar-a-Lago," further described in Attachment A, were reported by NARA to contain,

 among other things, highly classified documents intermingled with other records.

         2.        After an initial review of the NARA Referral, the Federal Bureau oflnvestigation

 (FBI) opened a criminal investigation to, among other things, determine how the documents with
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 classification markings and records were removed from the White House (or any other authorized

 location(s) for the storage of classified materials) and came to be stored at the PREMISES;

 determine whether the storage location(s) at the PREMISES were authorized locations for the

 storage of classified information; dete1mine whether any additional classified docwnents or

 records may have been stored in an unauthorized location at the PREMISES or another unknown

 location, and whether they remain at any such location; and identify any person(s) who may have

 removed or retained classified information without authorization and/or in an unauthorized space.

         3.        The FBI's investigation has established that documents bearing classification

 markings, which appear to contain National Defense Information (NDI), were among the

 materials contained in the FIFTEEN BOXES and were stored at the PREMISES in an

 unauthorized location. Since the FIFTEEN BOXES were provided to NARA, additional

 documents bearing classification markings, which appear to contain NDI and were stored at the

 PREMISES in an unauthorized location, have been produced to the government in response to a

 grand jury subpoena directed to FPOTUS' s post-presidential office and seeking documents

 containing classification markings stored at the PREMISES and otherwise under FPOTUS's

 control. Further, there is probable cause to believe that additional documents that contain

 classified NDI or that are Presidential records subject to record retention requirements currently

 remain at the PREMISES . There is also probable cause to believe that evidence of obstruction

 will be found at the PREMISES.

         4.        I am a Special Agent with the FBI assigned to the Washington Field Office

                                                          . During this time, I have received training

 at the FBI Academy located at Quantico, Virginia, specific to counterintelligence and espionage

 investigations.




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 Based on my experience and training, I am fami liar with efforts used to unlawfully collect, retain,

 and disseminate sensitive government information, including classified NDI.

         5.       I make this affidavit in support of an application under Rule 41 of the Federal

 Rules of Criminal Procedure for a warrant to search the premises known as 1100 S Ocean Blvd,

 Palm Beach, FL 33480, the "PREMISES," as further described i_n Attachment A, for the things

 described in Attachment B.

         6.       Based upon the following facts, there is probable cause to believe that the locations

 to be searched at the PREMISES contain evidence, contraband, fruits of crime, or other items

 illegally possessed in violation of 18 U.S .C. §§ 793 (e ), 1519, or 2071.

                                      SOURCE OF EVIDENCE

         7.       The facts set forth in this affidavit are based on my personal knowledge,

 knowledge obtained during my participation in this investigation, and information obtained from

 other FBI and U.S. Government personnel. Because this affidavit is submitted for the limited

 purpose of establishing probable cause in support of the application for a search warrant, it does

 not set forth each and every fact that I, or others, have learned during the course of this

 investigation.

                         STATUTORY AUTHORITY AND DEFINITIONS

         8.       Under 18 U.S.C. § 793(e) , " [w]hoever having unauthorized possession of, access

 to, or control over any docwnent .. . or information relating to the national defense which

 information the possessor has reason to believe could be used to the injury of the United States or

 to the advantage of any foreign nation, willfully communicates, delivers, transmits or causes to be

 communicated, delivered, or transmitted" or attempts to do or causes the same "to any person not

 entitled to receive it, or willfully retains the same and fails to deliver it to the officer or employee




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 of the United States entitled to receive it" shall be fined or imprisoned not more than ten years, or

 both.

         9.     Under Executive Order 13526, information in any fonn may be classified if it: (1)

 is owned by, produced by or for, or is under the control of the United States Government; (2) falls

 within one or more of the categories set forth in the Executive Order [Top Secret, Secret, and

 Confidential]; and (3) is classified by an original classification authority who determines that its

 unauthorized disclosure reasonably could be expected to result in damage to the national security.

         10.    Where such unauthorized disclosure could reasonably result in damage to the

 national security, the information may be classified as "Confidential" and must be properly

 safeguarded. Where such unauthorized disclosure could reasonably result in serious damage to

 the national security, the information may be classified as "Secret" and must be properly

 safeguarded. Where such unauthorized disclosure could reasonably result in exceptionally grave

 damage to the national security, the information may be classified as "Top Secret" and must be

 properly safeguarded.

         11.    Sensitive Compartmented Information (SCI) means classified information

 concerning or derived from intelligence sources, methods, or analytical processes, which is

 required to be handled within formal access control systems.

         12.    Special Intelligence, or " SI," is an SCI control system designed to protect technical

 and intelligence information derived from the monitoring of foreign communications signals by

 other than the intended recipients. The SI control system protects SI-derived information and

 information relating to SI activities, capabilities, techniques, processes, and procedures.

         13.    HUMINT Control System, or "HCS," is an SCI control system designed to protect

  intelligence information derived from clandestine human sources, commonly referred to as




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 "human intelligence." The HCS control system protects human intelligence-derived information

 and information relating to human intelligence activities, capabilities, techniques, processes, and

 procedures.

           14.   Foreign Intelligence Surveillance Act, or "FISA," is a dissemination control

 designed to protect intelligence information derived from the collection of information authorized

 under the Foreign Intelligence Surveillance Act by the Foreign Intelligence Surveillance Court, or

 "FISC."

           15.   Classified information may be marked as "Not Releasable to Foreign

 Nationals/Governments/US Citizens," abbreviated "NOFORN," to indicate information that may

 not be released in any form to foreign governments, foreign nationals, foreign organizations, or

 non-U.S. citizens without permission of the originator.

           16.   Classified information may be marked as "Originator Controlled," abbreviated

 "ORCO ." This marking indicates that dissemination beyond pre-approved U.S. entities requires

 originator approval.

           17.   Classified information of any designation may be shared only with persons

 determined by an appropriate United States Government official to be eligible for access, and who

 possess a "need to know." Among other requirements, in order for a person to obtain a security

 clearance allowing that person access to classified United States Government information, that

 person is required to and must agree to properly protect classified information by not disclosing

 such information to persons not entitled to receive it, by not unlawfully removing classified

 information from authorized storage facilities , and by not storing classified infonnation in

 unauthorized locations. If a person is not eligible to receive classified information, classified

 information may not be disclosed to that person. In order for a foreign government to receive




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  access to classified information, the originating United States agency must determine that such

 release is appropriate.

          18.    Pursuant to Executive Order 13526, classified information contained on automated

  information systems, including networks and telecommunications systems, that collect, create,

  communicate, compute, disseminate, process, or store classified information must be maintained

 in a manner that: (1) prevents access by unauthorized persons; and (2) ensures the integrity of the

 information.

          19.    32 C.F.R. Parts 2001 and 2003 regulate the handling of classified information.

 Specifically, 32 C.F.R. § 2001.43, titled "Storage," regulates the physical protection of classified

 information. This section prescribes that Secret and Top Secret information "shall be stored in a

  [General Services Administration] -approved security container, a vault built to Federal Standard

 (FHD STD) 83 2, or an open storage area constructed in accordance with§ 2001.5 3." It also

 requires periodic inspection of the container and the use of an Intrusion Detection System, among

 other things.

          20.    Under 18 U.S.C. § 1519:

         Whoever knowingly alters, destroys, mutilates, conceals, covers up, falsifies, or
         makes a false entry in any record, document, or tangible object with the intent to
         impede, obstruct, or influence the investigation or proper administration of any
         matter within the jurisdiction of any department or agency of the United States or
         any case filed under title 11 , or in relation to or contemplation of any such matter
         or case, shall be fined under this title, imprisoned not more than 20 years, or both.

          2 1.   Under 18 U.S.C. § 2071:

         (a) Whoever willfully and unlawfully conceals, removes, mutilates, obliterates, or
         destroys, or attempts to do so, or, with intent to do so takes and can-ies away any
         record, proceeding, map, book, paper, document, or other thing, filed or deposited
         with any clerk or officer of any court of the United States, or in any public office,
         or with any judicial or public officer of the United States, shall be fined under this
         title or imprisoned not more than three years, or both.




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       (b) Whoever, having the custody of any such record, proceeding, map, book,
       document, paper, or other thing, willfully and unlawfully conceals, removes,
       mutilates, obliterates, falsifies, or destroys the same, shall be fined under this title
       or imprisoned not more than three years, or both; and shall forfeit his office and be
       disqualified from holding any office under the United States. As used in this
       subsection, the term "office" does not include the office held by any person as a
       retired officer of the Armed Forces of the United States.

       22.    Under the PRA, 44 U.S.C. § 2201:

       (2) The term "Presidential records" means documentary materials, or any
       reasonably segregable portion thereof, created or received by the President, the
       President's immediate staff, or a unit or individual of the Executive Office of the
       President whose function is to advise or assist the President, in the course of
       conducting activities which relate to or have an effect upon the carrying out of the
       constitutional, statutory, or other official or ceremonial duties of the President.
       Such term-

              (A) includes any documentary materials relating to the political activities of
                  the President or members of the President's staff, but only if such
                  activities relate to or have a direct effect upon the carrying out of
                  constitutional, statutory, or other official or ceremonial duties of the
                  President; but

              (B) does not include any documentary materials that are (i) official records
                  of an agency (as defined in section 552(e) of title 5, United States
                  Code; (ii) personal records; (iii) stocks of publications and stationery;
                  or (iv) extra copies of documents produced only for convenience of
                  reference, when such copies are clearly so identified.

       23.     Under 44 U.S.C. § 3301(a), government "records" are defined as:

       all recorded infonnation, regardless of form or characteristics, made or received by
       a Federal agency under Federal law or in connection with the transaction of public
       business and preserved or appropriate for preservation by that agency or its
       legitimate successor as evidence of the organization, functions, policies, decisions,
       procedures, operations, or other activities of the United States Government or
       because of the informational value of data in them.


                                       PROBABLE CAUSE

                                          NARA Referral

        24.    On February 9, 2022, the Special Agent in Charge ofNARA's Office of the




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 Inspector General sent the NARA Referral via email to DOJ. The NARA Referral stated that

 according to NARA' s White House Liaison Division Director, a preliminary review of the

 FIFTEEN BOXES indicated that they contained "newspapers, magazines, printed news articles,

 photos, miscellaneous print-outs, notes, presidential correspondence, personal and post-

 presidential records, and 'a lot of classified records .' Of most significant concern was that highly

 classified records were unfoldered, intermixed with other records, and otherwise unproperly [sic]

 identified."

         25.    On February 18, 2022, the Archivist of the United States, chief administrator for

 NARA, stated in a letter to Congress ' s Committee on Oversight and Reform Chairwoman The

 Honorable Carolyn B. Maloney, "NARA had ongoing communications with the representatives of

 former President Trump throughout 2021 , which resulted in the transfer of 15 boxes to NARA in

 January 2022 . . .. NARA has identified items marked as classified national security information

 within the boxes." The letter also stated that, " [b ]ecause NARA identified classified information

 in the boxes, NARA staff has been in communication with the Department of Justice." The letter

 was made publicly available at the following uniform resource locator (URL):

 https://www.archives.gov/fil es/foi a/ferri ero-response-to-02. 09.2022-maloney-

 letter.02 . l 8.2022. pdf. On February 18, 2022, the same day, the Save America Political Action

 Committee (PAC) posted the following statement on behalf ofFPOTUS: "The National Archives

 did not ' find ' anything, they were given, upon request, Presidential Records in an ordinary and

 routine process to ensure the preservation of my legacy and in accordance with the Presidential

 Records Act .... " An image of this statement is below.




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                                                                     *****
                                                                      SAVE
                                                     AMERICA
                                                           PRISIDENT OOMALD J TAU"1P




                                      Statem ent by Donald J . Trum p, 45th President of the
                                                         United States o f America

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        26.




        27.




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        28.




        29.




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      Boxes Containing Documents Were Transported from the White House to Mar-a-Lago

          30.    According to a CBS Miami article titled "Moving Trucks Spotted At Mar-a-Lago,"

  published Monday, January 18, 2021, at least two moving trucks were observed at the PREMISES

  on January 18, 202 1.




          31.




          32.




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        35 .




        36.




        37.




                        Provision of the Fifteen Boxes to NARA

        38 .




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         39.    On or about May 6 2021 NARA made a request for the missing PRA records and

  continued to make requests until approximately late December 2021 when NARA was infonned

  twelve boxes were found and ready for retrieval at the PREMISES.




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        40.



 -      41.




        42.




        43.



        44.




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        45.




        46.




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             The FIFTEEN BOXES Provided to NARA Co11tai11 Classified Information

          47.    From May 16-18 2022 , FBI agents conducted a preliminary review of the

  FIFTEEN BOXES provided to NARA and identified documents with classification markings in

  fomieen of the FIFTEEN BOXES. A prelimirnuy triage of the documents with classification

  markings revealed the following approximate ntllllbers : 184 unique documents bearing

  classification markings, including 67 documents marked as CONFIDENTIAL 92 documents

  marked as SECRET and 25 documents marked as TOP SECRET. Fmther the FBI agents

  observed mai·kings reflecting the following compaiiments/dissemination controls: HCS , FISA

  ORCON, NOFORN, and SI. Based on my training and experience I know that documents

  classified at these levels typically contain NDI. Several of the doctllllents also contained what

  appears to be FPOTUS's handwritten notes.

          48 .




          49.




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          50.




     Grand Jury Subpoena, Related Correspo11de11ce, and Production of Additional Classtfied
                                         Doc11111e11ts

          51.    DOJ has advised me that, on May 11 , 2022 an attorney representing FPOTUS ,

  "FPOTUS COUNSEL l ," agreed to accept se1vice of a grand jmy subpoena from a grand jmy

  sitting in the District of Columbia sent to him via email by one of the prosecutors handling this

  matter for DOJ 'DOJ COUNSEL." The subpoena was directed to the custodian of records for

  the Office of Donald J. Trump and it requested the following materials:

         Any and all documents or writings in the custody or control of Donald J. Tmmp
         and/or the Office of Donald J. Tmmp bearing classification markings including
         but not limited to the following : Top Secret Secret Confidential Top Secret/ SI-
         G/NOFORN/ORCON Top Secret/SI-G/NOFORN Top Secret/HCS-
         O/NOFORN/ORCON Top Secret/HCS-O/NOFORN Top Secret/HCS-
         P/NOFORN/ORCON, Top Secret/HCS-P/NOFORN Top
         Secret/TK/NOFORN/ORCON Top Secret/TK/NOFORN, Secret/NOFORN,
         Confidential/NOFORN TS TS/SAP TS/SI-G/NF/OC TS/SI-G/NF TS/HCS-
         O/NF/OC TS/HCS-O/NF TS/HCS-P/NF/OC TS/HCS-P/NF, TS/HCS-P/SI-G
         TS/HCS-P/SI/TK TS/TKINF/OC, TS/TK/NF S/NF, S/FRD S/NATO S/SI, C,
         and C/NF.




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  The return date of the subpoena was May 24, 2022. DOJ COUNSEL also sent FPOTUS

  COUNSEL 1 a letter that permitted alternative compliance with the subpoena by "providing any

  responsive documents to the FBI at the place of their location" and by providing from the

  custodian a "sworn certification that the documents represent all responsive records. " The letter

  further stated that if no responsive documents existed, the custodian should provide a sworn

  certification to that effect.

          52 .    On May 25 , 2022, while negotiating for an extension of the subpoena, FPOTUS

  COUNSEL 1 sent two letters to DOJ COUNSEL. In the second such letter, which is attached as

  Exhibit 1, FPOTUS COUNSEL 1 asked DOJ to consider a few "principles," which include

  FPOTUS COUNSEL 1' s claim that a President has absolute authority to declassify documents. In

  this letter, FPOTUS COUNSEL 1 requested, an1ong other things, that "DOJ provide this letter to

  any judicial officer who is asked to rule on any motion pe11aining to this investigation, or on any

  application made in connection with any investigative request concerning this investigation."

          53.     I am aware of an article published in Breitbart on May 5, 2022, available at

  https://www. breitbart.com/politics/2022/05/05/documents-mar-a-lago-marked-classified-were-

  already-declass ified-kash-patel-says/, which states that Kash Patel, who is described as a former

  top FPOTUS administration official, characterized as "misleading" reports in other news

  organizations that NARA had found classified materials among records that FPOTUS provided to

  NARA from Mar-a-Lago. Patel alleged that such reports were misleading because FPOTUS had

  declassified the materials at issue.




          54.




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          55.    After an extension was granted for compliance with the subpoena, on the evening

  of June 2, 2022, FPOTUS COUNSEL 1 contacted DOJ COUNSEL and requested that FBI agents

  meet him the following day to pick up responsive documents. On June 3, 2022, three FBI agents

  and DOJ COUNSEL arrived at the PREMISES to accept receipt of the materials. In addition to

  FPOTUS COUNSEL 1, another individual, hereinafter "INDIVIDUAL 2," was also present as the

  custodian of records for FPOTUS ' s post-presidential office. The production included a single

  Redweld envelope, wrapped in tape, containing documents. FPOTUS COUNSEL 1 relayed that

  the documents in the Red weld envelope were found during a review of the boxes located in the

  STORAGE ROOM. INDIVIDUAL 2 provided a Certification Letter, signed by INDIVIDUAL 2,

  which stated the following:

          Based upon the information that has been provided to me, I am authorized to ce1iify, on
          behalf of the Office of Donald J. Trump, the following: a. A diligent search was
          conducted of the boxes that were moved from the White House to Florida; b. This search
          was conducted after receipt of the subpoena, in order to locate any and all documents that
          are responsive to the subpoena; c. Any and all responsive docun1ents accompany this
          ce1iification; and d. No copy, written notation, or reproduction of any kind was retained as
          to any responsive document.

          56.    During receipt of the production, FPOTUS COUNSEL 1 stated he was advised all




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  the records that came from the White House were stored in one location within Mar-a-Lago, the

  STORAGE ROOM, and the boxes of records in the STORAGE ROOM were "the remaining

  repository" of records from the White House. FPOTUS COUNSEL 1 fwiher stated he was not

  advised there were any records in any private office space or other location in Mar-a-Lago. The

  agents and DOJ COUNSEL were pem1itted to see the STORAGE ROOM and observed that

  approximately fifty to fifty-five boxes remained in the STORAGE ROOM.




                                                                           Other items were also

  present in the STORAGE ROOM, including a coat rack with suit jackets, as well as interior decor

  items such as wall art and frames.

          57.




          58.    A preliminary review of the documents contained in the Redweld envelope

  produced pursuant to the grand jury subpoena revealed the fo llowing approximate numbers: 38

  unique documents bearing classification markings, including 5 documents marked as

  CONFIDENTIAL, 16 documents marked as SECRET, and 17 documents marked as TOP

  SECRET. Further, the FBI agents observed markings reflecting the following

  caveats/compartments, among others: HCS, SI, and FISA.

                                                                       Multiple documents also




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  contained what appears to be FPOTUS's handwritten notes .

            59.     Notably, although the FIFTEEN BOXES provided to NARA contained

  approximately 184 unique documents with classification markings, only approximately 38 unique

  documents with classification markings were produced from the remaining FPOTUS BOXES.

            60.     When producing the documents, neither FPOTUS COUNSEL 1 nor INDIVIDUAL

  2 asserted that FPOTUS had declassified the documents. 2 The docun1ents being in a Redweld

  envelope wrapped in tape appears to be consistent with an effort to handle the documents as if

  they were still classified.

            61.     On June 8, 2022, DOI COUNSEL sent FPOTUS COUNSEL 1 a letter, which

  reiterated that the PREMISES are not authorized to store classified information and requested the

  preservation of the STORAGE ROOM and boxes that had been moved from the White House to

  the PREMISES. Specifically, the letter stated in relevant part:

            As I previously indicated to you, Mar-a-Lago does not include a secure location
            authorized for the storage of classified information. As such, it appears that since the time
            classified documents (the ones recently provided and any and all others) were removed
            from the secure faci lities at the White House and moved to Mar-a-Lago on or around
            January 20, 202 1, they have not been handled in an appropriate manner or stored in an
            approptiate location. Accordingly, we ask that the room at Mar-a-Lago where the
            documents had been stored be secured and that all of the boxes that were moved from the
            White House to Mar-a-Lago (along with any other items in that room) be preserved in that
            room in their current condition until further notice.



  2
    18 U.S.C. § 793(e) does not use the term " classified information," but rather crimina li zes the unlawful retention of
  "information relating to the national defense." The statute does not define " information re lated to the national
  defense," but courts have construed it broadly. See Gorin v. United States, 3 12 U.S . 19, 28 ( 1941) (ho lding that the
  phrase " infonnation relating to the national defense" as used in the Espionage Act is a "generic concept of broad
  connotations, referring to the mi Iitary and naval estab li shments and the re lated activities ofnational preparedness").
  In addition, the information must be "close ly he ld" by the U.S . government. See United States v. Squillacote, 221
  F.3d 542, 579 (4th Cir. 2000) (" [l]nfonnation made public by the government as well as information never protected
  by the government is not national defense information."); Un ited States v. Morison, 844 F.2d 1057, 1071-72 (4th Cir.
  1988). Certain courts have also held that the disclosure of the documents must be potentially damag ing to the United
  States. See Morison, 844 F.2d at 1071-72.




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  On June 9 2022, FPOTUS COUNSEL 1 sent an email to DOJ COUNSEL stating, "I write to

  acknowledge receipt of this letter."




          62.    DOJ COUNSEL has advised me that on or about June 22 2022 counsel for the

  Trump Organization a group of business entities associated with FPOTUS confumed that the

  Trump Organization maintains security cameras in the vicinity of the STORAGE ROOM and that

  on June 24 2022 counsel for the Trump Organization agreed to accept service of a grand jmy

  subpoena for footage from those cameras.

          63 .   The subpoena was served on counsel on June 24 2022 directed to the Custodian

  of Records for the Trump Organization, and sought:

         Any and all sm-veillance records videos images, photo ·a hs, and/or CCTV from
         internal cameras located on ground floor (basement)
         -     on the Mar-a-Lago prope1iy located at 1100 S Ocean Blvd. Palm Beach, FL 33480
         from the time period of January 10, 2022 to present.

          64.    On July 6, 2022, in response to this subpoena, representatives of the Trnmp

  Organization provided a hard drive to FBI agents.




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        65.




 -      66.




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        67.




 -      68 .




        69.




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        There is Probable Cause to Believe That Doc11111e11ts Co111ai11i11g Classified NDI and
                           Presidential Records Remain at the Premises

          70.   As explained above the FPOTUS BOXES contained numerous documents with

  classification markings, both in the FIFTEEN BOXES and in the remaining FPOTUS BOXES .

  As also explained above, the classified documents provided to the government in a Redweld

  envelope pursuant to the subpoena were represented to have been stored in boxes located in the

  STORAGE ROOM




          71.




                                                                                                   26
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        72.




        73 .




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        74.




        75 .




        76.




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          77.    Based upon this investigation, I believe that the STORAGE ROOM, FPOTUS 's

  residential suite, Pine Hall the "45 Office " and other spaces within the PREMISES am not

  currently authorized locations for the storage of classified infonnation or NDI. Similarly based

  upon this investigation I do not believe that any spaces within the PREMISES have been

  authorized for the storage of classified information at least since the end of FPOTUS ' s

  Presidential Administration on January 20 2021 .

          78.    As described above evidence of the SUBJECT OFFENSES has been stored in

  multiple locations at the PREMISES .




  Accordingly, this affidavit seeks authorization to search the "45 Office" and all storage rooms and




                                                                                                     29
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  any other rooms or locations where boxes or records may be stored within the PREMISES, as

  further described in Attachment A. The PREMISES is currently closed to club members for the

  summer; however, as specified in Attachment A, if at the time of the search, there are areas of the

  PREMISES being occupied, rented, or used by third parties, and not otherwise used or available

  to be used by FPOTUS and his staff, the search would not include such areas.



                                          CONCLUSION

          79.    Based on the foregoing facts and circumstances, I submit that probable cause exists

  to believe that evidence, contraband, fruits of crime, or other items illegally possessed in violation

  18 U.S.C. §§ 793(e), 2071, or 1519 will be fow1d at the PREMISES. Further, I submit that this

  affidavit supports probable cause for a warrant to search the PREMISES described in Attachment

  A and seize the items described in Attachment B.

                                     REQUEST FOR SEALING

         80.     It is respectfully requested that this Court issue an order sealing, until further order

  of the Court, all papers submitted in support of this application, including the application and

  search warrant. I believe that sealing this document is necessary because the items and

  information to be seized are relevant to an ongoing investigation and the FBI has not yet identified

  all potential criminal confederates nor located all evidence related to its investigation. Premature

  disclosure of the contents of this affidavit and related documents may have a significant and

  negative impact on the continuing investigation and may severely jeopardize its effectiveness by

  allowing criminal parties an opportunity to flee, destroy evidence (stored electronically and

  otherwise), change patterns of behavior, and notify criminal confederates.




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       SEARCH PROCEDURES FOR HANDLING POTENTIAL ATTORNEY-CLIENT
                       PRIVILEGED INFORMATION

         The following procedures will be followed at the time of the search in order to protect

  against disclosures of attorney-client privileged material:

         81.      These procedures will be executed by: (a) law enforcement personnel conducting

  this investigation (the "Case Team"); and (b) law enforcement personnel not participating in the

  investigation of the matter, who will search the "45 Office" and be available to assist in the event

  that a procedure involving potentially attorney-client privileged information is required (the

 "Privilege Review Team").

         82.      The Case Team will be responsible for searching the TARGET PREMISES.

  However, the Privilege Review Team will search the "45 Office" and conduct a review of the seized

  materials from the "45 Office" to identify and segregate documents or data containing potentially

 attorney-client privileged information.

         83.      If the Privilege Review Team determines the documents or data are not potentially

  attorney-client privileged, they will be provided to the law-enforcement personnel assigned to the

 investigation.    If at any point the law-enforcement personnel assigned to the investigation

  subsequently identify any data or documents that they consider may be potentially attorney-client

 privileged, they will cease the review of such identified data or documents and refer the materials

 to the Privilege Review Team for further review by the Privilege Review Team.

         84.      If the Privilege Review Team determines that documents are potentially attorney-

  client privileged or merit further consideration in that regard, a Privilege Review Team attorney

  may do any of the following: (a) apply ex parte to the court for a determination whether or not the

  documents contain attorney-client privileged material; (b) defer seeking court intervention and




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  continue to keep the documents inaccessible to law-enforcement personnel assigned to the

  investigation; or (c) disclose the documents to the potential p1ivilege holder, request the privilege

  holder to state whether the potential privilege holder asserts attorney-client p1ivilege as to any

  documents including requesting a particularized privilege log and seek a ruling from the comt

  regarding any attorney-client privilege claims as to which the Privilege Review Team and the

  privilege-holder cannot reach agreement.




                                                       Respectfully submitted




                                                       Specia Agent
                                                       Federal Bureau of Investigation

  Subscribed and sworn before me by
  telephone (Wh1}tsApp) or other reliable electronic
  means this - ~- day o       st 2022:




         HON.BRUCEE. REINHART
         UNITED STATES MAGISTRATE JUDGE




                                                                                                    32
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                               EXHIBIT 1
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                                       A Limited Liability Company
  SILVERMAN                            400 East Pratt Street - Suite 900
                                       Baltimore, Maryland 2 1 2 o 2
                                                                                                            Write1's Direct Con tact:
                                                                                                                       Evan Corcoran

  THOMPSON                             Telephone 41 O. 3 8 5 . 2 2 2 5
                                       Facs imile 410 .547.2432
                                                                                                                        4 10-385-2225
                                                                                                   eco rcoran(@,silvermanthompson.com

   Silverman Thompson Slutkin White    silvermanthompson.com
                                       Baltimore   I Tn11·.1·on I Ne 11• fork I Wush ing ton, DC
      ATTORNEYS AT L.<\W

                                                   May 25, 2022

     Via Electronic Mail

    Jay I. Bratt, Esquire
    Chief
    Counterintelligence & Export Control Section
    National Security Division
    U.S. Department of Justice
    950 Pennsylvania, Avenue, N.W.
    Washington, D.C. 20530

                    Re:     Presidential Records Investigation

    Dear Jay:

    I write on behalf of President Donald J. Trump regarding the above-referenced matter.

    Public trust in the government is low. At such times, adherence to the rules and long-standing
    policies is essential. President Donald J. Trump is a leader of the Republican Party. The
    Department of Justice (DOI), as part of the Executive Branch, is under the control of a President
    from the opposite party. It is critical, given that dynamic, that every effort is made to ensure that
    actions by DOI that may touch upon the former President, or his close associates, do not involve
    politics.

    There have been public reports about an investigation by DOI into Presidential Records
    purportedly marked as classified among materials that were once in the White House and
    unknowingly included among the boxes brought to Mar-a-Lago by the movers. It is important to
    emphasize that when a request was made for the documents by the National Archives and Records
    Administration (NARA), President Trump readily and voluntarily agreed to their transfer to
    NARA. The communications regarding the transfer of boxes to NARA were friend ly, open, and
    straightforward. President Trump voluntarily ordered that the boxes be provided to NARA. No
    legal objection was asserted about the transfer. No concerns were raised about the contents of the
    boxes. It was a voluntary and open process.

    Unfortunately, the good faith demonstrated by President Trump was not matched once the boxes
    arrived at NARA. Leaks followed. And, once DOI got involved, the leaks continued. Leaks about
    any investigation are concerning. Leaks about an investigation that involve the residence of a
    former President who is still active on the national political scene are particularly troubling.
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    It is important to note a few bedrock principles:

            (1) A President Has Absolute Authority To Declassify Documents.

    Under the U.S . Constitution, the President is vested with the highest level of authority when it
    comes to the classification and declassification of documents. See U.S. Const., Art. II, § 2 ("The
    President [is] Commander in Chief of the Army and Navy of the United States[.]"). His
    constitutionally-based authority regarding the classification and declassification of documents is
    unfettered. See Navy v. Egan, 484 U.S. 518, 527 (1988) ("[The President's] authority to classify
    and control access to information bearing on national security . . . flows primarily from this
    constitutional investment of power in the President and exists quite apart from any explicit
    congressional grant.").

            (2) Presidential Actions Involving Classified Documents Are Not Subject To Criminal
                Sanction.

    Any attempt to impose criminal liability on a President or former President that involves his actions
    with respect to documents marked classified would implicate grave constitutional separation-of-
    powers issues. Beyond that, the primary criminal statute that governs the unauthorized removal
    and retention of classified documents or material does not apply to the President. That statute
    provides, in pertinent part, as fo llows:

                    Whoever, being an officer, employee, contractor, or consultant of
                    the United States, and, by virtue of his office, employment, position,
                    or contract, becomes possessed of documents or materials
                    containing classified information of the United States, knowingly
                    removes such documents or materials without authority and with the
                    intent to retain such documents or materials at an unauthorized
                    location shall be fined under this title or imprisoned for not more
                    than five years, or both.

    18 U.S.C. § 1924(a). An element of this offense, which the government must prove beyond a
    reasonable doubt, is that the accused is "an officer, employee, contractor, or consultant of the
    United States. " The President is none of these. See Free Enter. Fund v. Pub. Co. Acct. Oversight
    Bd. , 56 1 U.S . 477, 497- 98 (20 10) (citing U.S . Const. , Art. II, § 2, cl. 2) ("The people do not vote
    for the ' Officers of the United States."'); see also Melcher v. Fed. Open Mkt. Comm., 644 F. Supp.
    510, 518-19 (D.D.C. 1986), aff'd, 836 F.2d 561 (D.C. Cir. 1987)("[a]n officer of the United States
    can only be appointed by the President, by and with the advice and consent of the Senate, or by a
    court of law, or the head of a department. A person who does not derive his position from one of
    these sources is not an officer of the United States in the sense of the Constitution."). Thus, the
    statute does not apply to acts by a President.



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    May 25, 2022
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           (3) DOJ Must Be Insulated From Political Influence.

    According to the Inspector General ofDOJ, one of the top challenges fac ing the Department is the
    public perception that DOJ is influenced by politics. The report found that "[ o ]ne important
    strategy that can build public trust in the Department is to ensure adherence to policies and
    procedures designed to protect DOJ from accusations of political influence or partial application
    of the law." See https ://oig.justice.gov/reports/top-management-and-performance-challenges-
    facing-depaiiment-justice-2021 (last visited May 25 , 2022). We request that DOJ adhere to long-
    standing policies and procedures regarding communications between DOJ and the White House
    regarding pending investigative matters which are designed to prevent political influence in DOJ
    decision-making.

           (4) DOJ Must Be Candid With Judges And Present Exculpatory Evidence.

    Long-standing DOJ policy requires that DOJ attorneys be candid in representations made to
    judges. Pursuant to those policies, we request that DOJ provide this letter to ai1y judicial officer
    who is asked to rule on any motion pertaining to this investigation, or on any application made in
    connection with any investigative request concerning this investigation.

    The official policy of DOJ further requires that prosecutors present exculpatory evidence to a grand
    jury. Pursuant to that policy, we request that DOJ provide this letter to any grand jury considering
    evidence in connection with this matter, or any grand jury asked to issue a subpoena for testimony
    or documents in connection with this matter.

    Thank you for your attention to this request.

                                  With best regards,


                                   ~4--~
                                  M. Evan Corcoran


    cc:    Matthew G. 0 lsen
           Assistant Attorney General
           National Security Division
           Via Electronic Mail




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                                          ATTACHMENT A

                                        Property to be searched

          The premises to be searched, 1100 S Ocean Blvd, Palm Beach, FL 33480, is further

  described as a resort, club, and residence located near the intersection of Southern Blvd and S

  Ocean Blvd. It is described as a mansion with approximately 58 bedrooms, 33 bathrooms, on a

  17-acre estate. The locations to be searched include the "45 Office," all storage rooms, and all

  other rooms or areas within the premises used or available to be used by FPOTUS and his staff

  and in which boxes or documents could be stored, including all structures or buildings on the

  estate. It does not include areas currently (i.e. , at the time of the search) being occupied, rented,

  or used by third parties (such as Mar-a-Largo Members) and not otherwise used or available to be

  used by FPOTUS and his staff, such as private guest suites.
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                                         ATTACHMENT B

                                        Property to be seized

        All physical documents and records constituting evidence, contraband, fruits of crime, or

 other items illegally possessed in violation of 18 U.S .C. §§ 793 , 2071 , or 1519, including the

 following:

                 a. Any physical documents with classification markings, along with any

  containers/boxes (including any other contents) in which such documents are located, as

  well as any other containers/boxes that are collectively stored or found together with the

 aforementioned documents and containers/boxes;

                 b. Information, including communications in any form, regarding the

 retrieval, storage, or transmission of national defense information or classified material;

                 c. Any government and/or Presidential Records created between January

 20, 2017, and January 20, 2021 ; or

                 d. Any evidence of the knowing alteration, destruction, or concealment of

  any government and/or Presidential Records, or of any documents with classification

  markings.
